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 7
                      UNITED STATES DISTRICT COURT
 8
                           DISTRICT OF NEVADA
 9                                               -oOo-

10   UNITED STATES OF AMERICA,                    ) Case No.: 2:14-cr-46-APG-CWH
                                                  )
11                 Plaintiff,                     ) STIPULATION FOR PROTECTIVE
                                                  ) ORDER
12           vs.                                  )
                                                  )
13   BRANDON T. OATS,                             )
                                                  )
14                 Defendant.                     )
                                                  )
15                                                )

16           IT IS HEREBY STIPULATED AND AGREED between the parties, Daniel G. Bogden,

17   United States Attorney for the District of Nevada, Sarah E. Griswold and Brian Pugh, Assistant

18   United States Attorneys, counsel for the United States, and Craig Drummond, counsel for

19   defendant Brandon T. Oats, that this Court issue an Order protecting from disclosure to the

20   public any discovery documents containing the personal identifying information such as social

21   security numbers, drivers license numbers, dates of birth, or addresses, of participants,

22   witnesses and victims in this case.    Such documents shall be referred to hereinafter as

23   “Protected Documents.” The parties state as follows:

24   ///
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 1           1.      Protected Documents which will be used by the government in its case in chief

 2   include personal identifiers, including social security numbers, drivers license numbers, dates of

 3   birth, and addresses, of participants, witnesses, and victims in this case.

 4           2.      Discovery in this case is voluminous. Many of the documents include personal

 5   identifiers. Redacting the personal identifiers of participants, witnesses, and victims would

 6   prevent the timely disclosure of discovery to defendants.

 7           3.      The United States agrees to provide Protected Documents without redacting the

 8   personal identifiers of participants, witnesses, and victims.

 9           4.      Access to Protected Documents will be restricted to persons authorized by the

10   Court, namely defendant, attorney(s) of record and attorneys’ paralegals, investigators, experts,

11   and secretaries employed by the attorney(s) of record and performing on behalf of defendant.

12           5.      The following restrictions will be placed on defendant, defendant’s attorney(s)

13   and the above-designated individuals unless and until further ordered by the Court. Defendants,

14   defendants’ attorneys and the above-designated individuals shall not:

15                a. make copies for, or allow copies of any kind to be made by any other person of

16                   Protected Documents;

17                b. allow any other person to read Protected Documents; and,

18                c. use Protected Documents for any other purpose other than preparing to defend

19                   against the charges in the Superseding Indictment or any further superseding

20                   indictment arising out of this case.

21           6.      Defendant’s attorney(s) shall inform any person to whom disclosure may be

22   made pursuant to this order of the existence and terms of this Court’s order.

23   ///

24   ///

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 1           7.      The requested restrictions shall not restrict the use or introduction as evidence of

 2   discovery documents containing personal identifying information such as social security

 3   numbers, drivers license numbers, dates of birth, and addresses during the trial of this matter.

 4           8.      Upon conclusion of this action, defendant’s attorney(s) shall return to

 5   government counsel or destroy and certify to government counsel the destruction of all

 6   discovery documents containing personal identifying information such as social security

 7   numbers, drivers license numbers, dates of birth, and addresses within a reasonable time, not to

 8   exceed thirty days after the last appeal is final.

 9   DANIEL G. BOGDEN
     United States Attorney
10

11   /s/ Sarah E. Griswold                                         February 26, 2014
     SARAH E. GRISWOLD                                             DATE
12   BRIAN PUGH
     Assistant United States Attorneys
13

14

15
     /s/ Craig Drummond                                            February 26, 2014
16   CRAIG DRUMMOND                                                DATE
     Counsel for Brandon T. Oats
17

18
                                                    ORDER
19
             IT IS SO ORDERED this 27th
                                   ________ dayFebruary,
                                        day of  of _______________________,
                                                         2014.              2014.
20

21
                                                           _________________________________
22                                                         UNITED
                                                          UNITED   STATESMAGISTRATE
                                                                 STATES    DISTRICT JUDGE
                                                                                       JUDGE

23

24

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